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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division


 LIGHTHOUSE FELLOWSHIP CHURCH,

                        Plaintiff,

            v.
                                                                   Civil No. 2:20cv204
 RALPH NORTHAM, in his official capacity
 as Governor of the Commonwealth of Virginia,

                        Defendant.


                                              ORDER

       Pending before the Court is a Motion for Leave to File Amicus Curiae Brief in Support of

Defendant and in Opposition to Plaintiff’s Motion for an Injunction Pending Appeal brought by

the non-party “Americans United for Separation of Church and State” (“AUSCS”). ECF No. 30.

“The Court has broad discretion in deciding whether to allow a non-party to participate as an

amicus curiae,” provided that the proffered information “is timely and useful.” Tafas v. Dudas,

511 F. Supp. 2d 652, 659 (E.D. Va. 2007) (quotation and citations omitted). Non-parties may be

permitted to participate “where they provide helpful analysis of the law, they have a special interest

in the subject matter of the suit, or existing counsel is in need of assistance.” Id. (quotation

omitted).

       Non-party AUSCS “is a nonsectarian and nonpartisan public-interest organization that is

committed to preserving the constitutional principles of religious freedom and the separation of

religion and government.” Mot. for Leave, ECF No. 30. AUSCS claims an expertise and a

“special interest in the subject matter” regarding this lawsuit.




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        The Court finds that Defendant is well-represented and capable of adequately presenting

positions and arguments. Defendant needs no assistance and takes no position specifically on

whether AUSCS should be permitted to participate as an amicus curiae. Mot. for Leave at 2, ECF

No. 30. AUSCS has submitted a proposed brief arguing that the Governor’s Orders should be

subject to, and pass, rational basis review, that the Governor’s Orders also satisfy a heightened

level of scrutiny, and that a religious exemption would violate the Establishment Clause to the

United States Constitution.    Id.   The arguments regarding scrutiny are well-addressed in

Defendant’s response in opposition, and the argument regarding religious exemption is less

relevant to the pending motion. The proposed brief fails to provide the Court with useful

information that would otherwise be lacking in this litigation. See Vanda Pharmaceuticals, Inc. v.

Food and Drug Administration, --- F. Supp. 3d ----, 2020 WL 516561, at *14 (D.D.C. 2020)

(denying motion for leave to file amicus brief where the arguments in the brief were either

impermissible or supplicative of the arguments in the relevant motion).

        Accordingly, AUSCS’s Motion for Leave to File Amicus Curiae Brief (ECF No. 30) is

DENIED. The Clerk is REQUESTED to forward a copy of this Order to counsel of record for

all parties.

        IT IS SO ORDERED.



                                                                      /s/
                                                           Arenda L. Wright Allen
                                                          United States District Judge
May 20, 2020
Norfolk, Virginia




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